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EXHIBIT A

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Rcs/ALL

. . Transmittal Number: 14462106
Notlce of Servlce of Process Date Pro¢essed: 11/12/2015
Primary Contact: Bruce Buttaro

Liberty l\/lutual |nsurance Company
175 Berke|ey Street
Boston, l\/|A 02117

 

Entity:

Entity Served:

Tit|e of Action:
Document(s) Type:
Nature of Action:
CourtlAgency:
CaselReference No:
Jurisdiction Served:
Date Served on CSC:
Answer or Appearance Due:
Origina||y Served On:
How Served:

Sender |nformation:

Liberty l\/|utual Fire |nsurance Company
Entity lD Number 2542855

Liberty |\/|utua| Fire lnsurance Company

l\/lonique Bassalinda Ledet vs. Liberty l\/lutual insurance Company
Citation/Petition

Contract

Brazoria County District Court, Texas

83823-CV

Texas

11/12/2015

10:00 am l\/londay next following the expiration of 20 days after service
CSC

Certitied l\/|ail

Jesse S. Corona
281 -882-3531

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Cas_e 4:15-cV-03428 Document 1-1 Filed in TXSD on 11/20/15 Page 3 of 21
Service I.D. No. 38009 '

CAUSE No.' 83823-Cv
149th District Court

THE STATE OF TEXAS ` CITATION

TO: Liberty Mutual Fire Insurance Company v Defendant
By serving its Registered Agent "
Corporation Service Company
211 East 7th Street Suite 620
Austin TX 78701-3218
Or wherever it may lbe found

NOTICE:

You have been sued. You may employ an attorney. lf you or your attorney does not tile a written answer
with the Clerk who issued this Citation by 10:00 a.rn. on the Monday next following the expiration of 20 days
after you Were served this Citation and Plaintift's Original Petition a Default Judgment may be taken against
you. If filing Pro se, said answer may be filed by mailing same to: Brazoria County District Clerk’s office, 111
E. Locust, Suite 500, Angleton, TX 77515-4678 or by bringing said answer in person to the aforementioned
address.

'l`he case is presently pending before the 149th District Court of Brazoria County sitting in Angleton,
Texas, and was filed on the 23rd day of October, 2015. It bears Cause No. 83823-CV and Styled:

MONIQUE LEDET
VS.
LIBERTY MUTUAL INSURANCE COMPANY, ET AL

_The name and address of the Attorney filing this action (or Party, if Pro Se) is Jesse S. Corona, 2611
Cypress Creek Parkway, Suite H-200, Houston, TX 77068.

The nature of the demands of said Plaintiff is shown by a true and correct copy of Plaintit`i’s Petition
accompanying this Citation. .

lssued under my hand and the seal of said Court, at Angleton, Texas, on the 26th day of October, 2015.

_ RHONDA BARCHAK, DISTRICT CLERK
- Brazoria County, Texas '

By W ' Mwi/ ,Deputy

` Michene Bailey U

 

Citation by Registered Agent

Case 4:15-cV-03428 Document 1-1 Filed in TXSD on 11/20/15 Page 4 of 21
Service l.D. No. 38009

RETURN OF SERVICE
CAUSE NO. 83823-CV 149th District Court

' MONIQUE LEDET
VS.
LIBERTY MUTUAL INSURANCE COMPANY, ET AL

Liberty Mutual Fire Insurance Company
By Serving Its Registered Agent
Corporation Service Company

211 East 7th Stre_et Suite 620

Austin TX 78701-3218

or wherever it may be found

Came to hand on the day of ` , 20_ at , o’clock __.m., and executed in

County, Texas by delivering to each of the within named parties in person, a true copy of this CITATION
with the date of delivery endorsed thereon, together with the accompanying copy of the Plaintif`f's Original Petition at the following
times and places, to-wit:

NAME - DATE TIME PLACE, COURSE, AND DISTANCE FROM COURTHOUSE MILEAGE

 

 

 

 

and not executed as to (NAME)

and the cause or failure to execute this process is for the following reason:

 

 

The diligence used in finding said (NAME) being:

 

 

 

 

FEES:

Serving Citation and Copy $ , Ofticer
Mileage: miles @ $ per mile $ County, Texas
Total $

 

Deputy/Authorized Person

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE. OR CLERK OF THE COURT.

In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the retum. The
return must either be verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . , my-dat_e'of birth is , and my
(First, Middle Last) ’ ' ` -`:

address is " " v _'
(Street, City, State, Zip Co_de, Country) ‘_ 1 ;,

I DECLARE UNDER PENALTY OF PERIURY THAT THE FORE_GOING lS 'l`RUE AND CORRECT.

_\

.' .',.('
Executed m County, State of - ' t _ -’, on the day of , 20_

 

Declarant/Authorized Process S_erver

 

(Id No. and expiration of certification)

Citation by Registered Agent

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CAUSE NO.

MONIQUE BASSALINDA LEDET, IN THE DISTRICT COURT

Plaintl'ff,

vs.
BRAZORIA COUNTY, TEXAS
LIBERTY MUTUAL INSURANCE
COMPANY, LIBERTY MUTUAL
FIRE INSURANCE COMPANY,

W'>W'DW'>OO'JCMW>CMCMWNMWO

Defendant. JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, MONIQUE BASSALINDA LEDET (“Plaintiff”), and complains of
LIBERTY MUTUAL INSURANCE COMPANY and/or LIBERTY MUTUAL FIRE
INSURANCE COMPANY (“LIBERTY MUTUAL” and/or “Defendant”). ln support of such
claims and causes of action, Plaintiff respectfully shows unto this Honorable Court and Jury as
follows:

I. DISCOVERY CONTROL PLAN

1.1 Discovery in this case should be conducted in accordance with a Level 2 tailored

discovery control plan pursuant to Texas Rule of Civil Procedure 190.4.
II. PARTIES

2.1 Plaintiff, MONIQUE BASSALINDA LEDET, is a resident of Brazoria County,
Texas.

2.2 Defendant, LIBERTY MUTUAL INSURANCE COMPANY and LIBERTY

MUTUAL FIRE INSURANCE COMPANY, are both foreign corporations engaged in the

 

PLAINTIFF MONIQUE BASSALINDA LEDET’S ORIGI`NAL PETITION PAGE -l-

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business of insurance in this state. Both entities are registered with the Texas Department of

Insurance with the same mailing address of 175 Berkeley Street, Boston, MA 02116-5066. Both

entities may be served with process by serving its same registered agent for service, Corporation

Service Company at 211 East 7th Street, Suite 620, Austin, TX 78701-3218, or wherever it may be

found. Plaintiff requests citation be issued and mailed to Plaintiff attorney’s office at this time.
III. JURISDICTION AND VENUE

3.1 This Court has jurisdiction over this case in that the amount in controversy exceeds
the minimum jurisdictional limits of this Court.

3.2 Venue is proper in Brazoria County, Texas, because all or a substantial part of the
events giving rise to the lawsuit occurred in this county, and the insured property that is the basis
of this lawsuit is located in Brazoria County, Texas.

IV. AGENCY AND RESPONDEAT SUPERIOR

4.1 Whenever in this petition it is alleged that Defendant did any act or thing, it is meant
that Defendant or their agents, officers, Servants, employees, or representatives did such a thing.
lt was also done with the full authorization or ratification of Defendant or done in the normal
routine, course and scope of the agency or employment of Defendant or their agents, officers,
servants, employees, or representatives

V. CONDITIONS PRECEDENT
5.1 All conditions precedent to recovery have been performed, waived, or have

occurred.

VI. FACTS APPLICABLE TO ALL COUNTS

 

6.1 Plaintiff is the owner of a Texas Homeowner’s Policy No. H32-291-2 l 8760-10

issued by LIBERTY MUTUAL (the “Policy”).

 

PLAINTIFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -2-

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6.2 Plaintiff owns the insured property, which is specifically located at 3217 Bruno

Way, Pearland, TX, 77584 (the “Property”).

6.3 LIBERTY MUTUAL, or its agent(s), sold the Policy, insuring and covering the
Property against damages from storm-related events, to Plaintiff.

6.4 On or about April 20, 2015, Plaintiff experienced a storm that damaged the
Property. In its track, the storm left behind widespread damage to the Property, Plaintiff’s home.

6.5 The Plaintiff timely submitted a claim to LIBERTY MUTUAL. LIBERTY
MUTUAL assigned various adjusters to adjust the claim. However, LIBERTY MUTUAL and
and its agents were not diligent in investigating Plaintiff’ s loss. LIBERTY MUTUAL failed to
timely and accurately investigate the covered loss. LIBERTY MUTUAL assigned claim number
031901674 to Plaintiff’s claim.

6.6 Ultimately, LIBERTY MUTUAL, inspected Plaintiff’s property after the storm.
During the inspection, LIBERTY MUTUAL, was tasked with the responsibility of conducting a
thorough and reasonable investigation of Plaintiff’s claim, including determining the cause of, and
then quantifying the damage done to Plaintiff’s home.

6.7 LIBERTY MUTUAL prepared a repair estimate which did not account for all of
the covered damages Further, even the damages that were accounted for were vastly under-
scoped. Thus, Defendant LIBERTY MUTUAL demonstrated it did not conduct a thorough
investigation of the claim.

6.8 Defendant LIBERTY MUTUAL failed to fairly evaluate and adjust Plaintiff"s
claim as they are obligated to do under the Policy and Texas law. By failing to properly investigate
the claim and wrongfully denying full coverage to Plaintiff, LIBERTY MUTUAL engaged in

unfair settlement practices by misrepresenting material facts to Plaintiff.

 

PLAINTIFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -3-

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6.9 Defendant LIBERTY MUTUAL failed to perform their contractual duty to
adequately compensate Plaintiff under the terms of the Policy. Specifically, Defendant LIBERTY
MUTUAL failed and refused to properly pay proceeds for the Policy, although due demand was
made for proceeds to be paid in an amount sufficient to cover the damaged property, and all
conditions precedent to recovery upon the Policy had been carried out and accomplished by
Plaintiff. Defendant LIBERTY MUTUAL’s conduct constitutes a material breach of the insurance
contract.

6. 10 Defendant LIBERTY MUTUAL misrepresented to Plaintiff that the damage to the
Property was not covered under the Policy, even though the damage was caused by a covered peril.
Defendant’s conduct constitutes a violation of the Unfair Settlement Practices section of the Texas
Insurance Code. Tex. Ins. Code § 541.060(a)(1).

6.11 Defendant LIBERTY MUTUAL’S repair estimate under-scoped the covered
damages and misrepresented the benefits under the Policy, which promised to pay the amount of
loss to the Plaintiff. Defendant’s conduct constitutes a violation of the Misrepresentation
Regarding Policy or Insurer section Texas Insurance Code. Tex. Ins. Code § 541 .051(1)(B).

6.12 Defendant LIBERTY MUTUAL failed to make an attempt to settle Plaintiff" s
claims in a prompt and fair manner, although they were aware of their liability to Plaintiff was
reasonably clear under the Policy, Defendant’s conduct constitutes a violation of the Unfair
Settlement Practices section of the Texas Insurance Code. Tex. Ins. Code § 541.060(a)(2)(A).

6. 13 Defendant LIBERTY MUTUAL failed to explain to Plaintiff why full payment was
not being made. Furthermore, Defendant did not communicate that future payments would be
forthcoming to pay for the entire losses covered under the Policy, nor did Defendant provide any

explanation for the failure to adequately settle Plaintiff’s claims Tex. Ins. Code § 541 .060(a)(3).

 

PLAINTIFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -4-

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6.14 Defendant LIBERTY MUTUAL failed to affirm or deny coverage of Plaintiff’s
claim within a reasonable time. Specifically, Plaintiff did not receive timely indication of
acceptance or rejection, regarding the full and entire claim, in writing from Defendants.
Defendant’s conduct constitutes a violation of the Unfair Settlement Practices section of the Texas
Insurance Code. Tex. Ins. Code § 541.060(a)(4).

6.15 Defendant LIBERTY MUTUAL refused to fully compensate Plaintiff under the
terms of the Policy, even though Defendant failed to conduct a reasonable investigation.
Specifically, Defendant LIBERTY MUTUAL performed a results/outcome-oriented investigation
of Plaintiff’ s claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff’s
losses to the Property. Defendant’s conduct constitutes a violation of the Unfair Settlement
Practices section of the Texas Insurance Code. Tex. Ins. Code § 541.()60(a)(7).

6.16 Defendant LIBERTY MUTUAL misrepresented the insurance policy sold to
Plaintiff by (1) making an untrue statement of material fact regarding coverages; (2) failing to
state a material fact necessary to make other statements made not misleading, considering the
circumstances under which the statements were made; (3) making a statement in a manner that
would mislead a reasonably prudent person to a false conclusion of a material fact regarding
coverages; (4) making a material misstatement of law; and/or (5) failing to disclose a matter
required by law to be disclosed, including failing to make a disclosure in accordance with another
provision of the Texas Insurance Code, in violation of Section 541 .061 of the same.

6.17 Defendant LIBERTY MUTUAL failed to meet their obligation under the Texas
Insurance Code regarding timely acknowledging Plaintiff s claim, beginning an investigation of

Plaintiff`s claim, and requesting all information reasonably necessary to investigate Plaintiff’s

 

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claim within the statutorily mandated deadline. Defendant’s conduct constitutes a violation of the
Prompt Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins. Code § 542.055.

6.18 Defendant LIBERTY MUTUAL failed to accept or deny the Plaintiff’s full and
entire claim within the statutory mandated deadline of receiving all necessary information
Defendant’s conduct constitutes a violation of the Prompt Payment of Claims subchapter of the
Texas Insurance Code. Tex. lns. Code § 542.056.

6.19 Defendant LIBERTY MUTUAL failed to meet its obligations under the Texas
Insurance Code regarding payment of claims without delay. Specifically, Defendant has delayed
full payment of Plaintist claim longer than allowed and, to date, Plaintiff has not yet received
full payment for Plaintiff’s claim, Defendant’s conduct constitutes a violation of the Prompt
Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins. Code § 542.058.

6.20 From the point in time Plaintiff’ s claim was presented to Defendant LIBERTY
MUTUAL, the liability of Defendant to pay the full claim in accordance with the terms of the
Policy was reasonably clear. However, Defendant LIBERTY MUTUAL has refused to pay
Plaintiff in full, despite there being no basis whatsoever on which a reasonable insurance company
would have relied to deny the fully payment. Defendant’s conduct constitutes a breach of the
common law duty of good faith and fair dealing

6.21 As a result of Defendant’s wrongful acts and omissions, Plaintiff was forced to
retain the professional services of the attorney and law firm who are representing Plaintiff with
respect to these causes of action. On or about June 18, 2015, Plaintiff’s counsel sent a letter of
representation requesting various documents related to the storm.

6.22 On or about July 13, 2015, Plaintiff’s counsel sent a Texas Deceptive Trade

Practices Act (“DTPA”) and Texas Insurance Code Notice and Demand letter. The letter informed

 

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Defendants of potential violations under the DTPA and Insurance Code related to their handling
and adjusting of Plaintiff’s claim and potential claims, including attorney’s fees, statutory penalty
interest, and additional damages arising from those violations. The Notice and Demand letter
provided Defendants with the statutorily mandated sixty days to respond and an opportunity to
resolve the claim without extended litigation costs On September 10, 2015, Defendant
acknowledged the letter, then denied the Demand.

6.23 Prior to Defendant’s denial of Plaintiff’s DTPA and Insurance Code Notice and
Demand letter, on July 29, 2015, the parties executed a Texas Rule of Civil Procedure Rule 11
Agreement. Under the Rule 11, the parties agreed to exchange documents and conduct a pre-suit
mediation to occur not later than 90 days after the Rule 11 was executed. On October 23, 2015,
that pre-suit mediation took place, but the parties were unable to come to terms

6.24 To date, Defendant LIBERTY MUTUAL has failed to and refused to pay Plaintiff
for the proper repair of the property. Plaintiff’ s experience is not an isolated case. The acts and
omissions of Defendants committed in this case, or similar acts and omissions, occur with such
frequency that they constitute a general business practice of Defendants with regard to handling
this type of claim, Defendants’ entire process is unfairly designed to reach favorable outcomes for
the company at the expense of the policyholder.

VII. COUNTS

7.1 Plaintiff incorporates by reference all facts, statements and allegations set forth in
all previous paragraphs as if set forth in full in each cause of action that follows

7.2 COUNT 1 - BREACH OF CONTRACT

a. At the time of the loss, Plaintiff had a policy of insurance in place, issued

by Defendant (the “Policy”). Plaintiff fully performed his contractual obligations by

 

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making premium payments as required by his insurance contract, and at all times complied
fully with all material provisions of the Policy,

b. According to the Policy that Plaintiff purchased, Defendant LIBERTY
MUTUAL had the duty to investigate and pay Plaintiff"s policy benefits for claims made
for covered damages including additional benefits under the Policy, resulting from the
damages As a result of these damages, which result from covered perils under the Policy,
the Plaintiff"s home has been damaged.

c. Defendant LIBERTY MUTUAL’s failure and refusal, as described above,
to pay the adequate compensation as it is obligated to do under the terms of the Policy in
question and under the laws of the State of Texas, constitutes a material breach of
Defendant LIBERTY MUTUAL’s contract with Plaintiff. As a result of this breach of
contract, Plaintiff has suffered the damages that are described in this Petition, the producing
cause of which is Defendant’s actions

7.3 COUNT 2 - PROl\/IPT PAYMENT OF CLAIMS; VIOLATION OF TEXAS
INSURANCE CODE §542, ET SEQ.

a. Under the Texas Insurance Code, Defendant LIBERTY MUTUAL had a
duty to investigate and pay Plaintiff" s claim under the Policy in a timely manner.
Defendant LIBERTY MUTUAL violated Section 542 of the Texas Insurance Code by not
timely: (l) commencing its investigation of the claim; (2) requesting information needed
to investigate the claim; (3) communicating with its insured regarding the status of its
investigation, including failing to accept or reject Plaintiff" s claim in writing within the
statutory timeframe; (4) conducting its investigation of the claim; and (5) paying the claim.

b. All of the above-described acts, omissions and failures of Defendant is a

producing cause of Plaintiff's damages that are described in this petition. Defendant

 

PLAINTIFF MONlQUE BASSALINDA LEDE'I"S ORIGINAL PETITION PAGE -8-

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LIBERTY MUTUAL is therefore liable under Section 542 for penalty interest at the rate
set forth in the statutc, and attomey’s fees taxed as costs of this suit.

c. Additionally, if it is determined Defendant LIBERTY MUTUAL owes
Plaintiff any additional money on Plaintiff s claim, then Defendant has automatically

violated Section 542 in this case.

7.4 COUNT 3 - UNFAIR INSURANCE PRACTICES; VIOLATION OF
TEXAS INSURANCE CODE § 541, ET SEQ.

a. As an insurer, Defendant LIBERTY MUTUAL owes statutory duties to
Plaintiff as its insured. Specifically, the Texas Insurance Code prohibits Defendant
LIBERTY MUTUAL from engaging in any unfair or deceptive act or practice in the
business of insurance

b. By their acts, omissions, failures and conduct, Defendant LIBERTY
MUTUAL has engaged in unfair and deceptive acts or practices in the business of
insurance in violation of 541 of the Texas Insurance Code. Such violations include,
without limitation, all the conduct described in this petition, plus Defendant’s unreasonable
delays and under-scoping in the investigation, adjustrnent, and resolution of the Plaintiff’ s
claim, plus Defendant’s failure to pay for the proper repair of the Plaintiff's home on which
liability had become reasonably clear. They further include Defendant’s failure to give
Plaintiff the benefit of the doubt. Specifically, Defendant LIBERTY MUTUAL are guilty
of the following unfair insurance practices

i. Misrepresenting to Plaintiff pertinent facts or policy provisions

relating to the coverage at issue;

 

PLAINTIFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -9-

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ii. Failing to attempt in good faith to effectuate a prompt, fair, and
equitable settlement of claim submitted in which liability had become reasonably
Clear;

iii. Failing to provide promptly to a policyholder a reasonable
explanation of the basis in the insurance policy in relation to the facts or applicable
law for the denial of a claim or for the offer of a company’s settlement

iv. Failing to affirm or deny coverage of Plaintiff’s claim within a
reasonable time;

v. Refusing to pay Plaintiff’s claim without conducting a reasonable
investigation with respect to the claim; and

vi. Misrepresenting the insurance policy sold to Plaintiff by (1) making
an untrue statement of material fact regarding coverages; (2) failing to state a
material fact necessary to make other statements made not misleading, considering
the circumstances under which the statements were made; (3) making a statement
in a manner that would mislead a reasonably prudent person to a false conclusion
of a material fact regarding coverages; (4) making a material misstatement of law;
and/or (5) failing to disclose a matter required by law to be disclosed, including
failing to make a disclosure in accordance with another provision of the Texas
Insurance Code.

c. Defendant LIBERTY MUTUAL has also breached the Texas Insurance
Code when it breached their duty of good faith and fair dealing Defendant’s conduct as

described herein has resulted in Plaintiff" s damages that are described in this petition,

 

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d. All of the above-described acts, omissions, and failures of Defendant is a
producing cause of Plaintiff’s damages that are described in this petition, and were done
knowingly and/or intentionally as that term is used in the Texas Insurance Code.

7.5 COUNT 4 - DTPA; VIOLATIONS OF TEXAS BUSINESS AND
COMMERCE CODE § 17.46, ET SEQ.

a. Plaintiff is a consumer of goods and services provided by Defendant as
defined by the Texas Deceptive Trade Practices Act (“DTPA”), codified under Chapter 17
of the Texas Business and Commerce Code. The Plaintiff has met all conditions precedent
to bringing this cause of action against Defendants Specifically, Defendant’s violations
of the DTPA include without limitation, the following matters

b. By their acts, omissions, failures, and conduct that are described in this
petition, Defendant LIBERTY MUTUAL has committed false, misleading, or deceptive
acts or practices in violation of § 17.46(b)(2), (3), (5), (7), (11), (12), (13), (20), and (24)
of the DTPA. In this respect, Defendant’s violations include without limitation:

i. Unreasonable delays in the investigation, adjustment and resolution
of Plaintiff’s claim, during which Defendant employed a series of alleged
“independent adjusters” under the control of Defendant, that caused confusion to
Plaintiff as to whom was representing whom, and had whose best interests in mind.
This gives Plaintiff the right to recover under Section l7.46(b)(2) and (3) of the
DTPA;

ii. As described in this Petition, Defendant represented to Plaintiff that
the insurance policy and Defendant’s adjusting and investigative services had
characteristics uses, or benefits that it did not have, which gives Plaintiff the right

to recover under Section l7.46(b)(5) of the DTPA;

 

PLAINTIFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -l l-

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iii. As described in this Petition, Defendant represented to Plaintiff that
the insurance policy and Defendant’s adjusting and investigative services were of
a particular standard, quality, or grade when they were of another in violation of
Section l7.46(b)(7) of the DTPA;

iv. As described in this petition, Defendant represented to Plaintiff that
the insurance policy and Defendant’s adjusting and investigative services conferred
or involved rights, remedies, or obligations that it did not have, which gives
Plaintiff the right to recover under Section 17.46(b)(12) of the DTPA;

v. Defendant knowingly made false or misleading statements of fact
concerning the need for replacement of roofing systems, which gives Plaintiff the
right to recover under Section l7.46(b)(13) of the DTPA;

vi. Defendant breached an express and /or implied warranty that the
damage caused by the subject storm would be covered under the insurance policies
This entitles the Plaintiff to recover under Sections 17.46(b)(12) and (20) and
l7.50(a)(2) of the DTPA;

vii. Defendant failed to disclose information concerning the insurance
policy which was known at the time of the transaction where the failure to disclose
such information was intended to induce the Plaintiff into a transaction into which
the Plaintiff would not have entered had the information been disclosed. This gives
Plaintiff the right to recover under Section l7.46(b)(24) of the DTPA;

viii. Defendant’s actions, as described in this petition, are

unconscionable in that it took advantage of Plaintiff’s lack of knowledge, ability,

 

PLAlNTlFF MONlQUE BASSALINDA LEDET’S ORIGINAL PETITION PAGE -12-

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and experience to a grossly unfair degree. Defendant’s unconscionable conduct
gives Plaintiff the right to relief under Section 17 .50(a)(3) of the DTPA; and

ix. Defendant’s conduct, acts omissions and failures as described in
this petition, are unfair practices in the business of insurance in violation of Section
17.50(a)(4) of the DTPA, under which violations of Chapter 541 of the Texas

Insurance Code are an enabling statute.

c. All of the above-described acts omissions and failure of Defendant is a
producing cause of Plaintiff’ s damages that are described in this petition All of the above-
described acts omissions and failures of Defendant were done knowingly and
intentionally, as those terms are used and defined in the Texas Deceptive Trade Practices
Act.

7.6 COUNT 5 - BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

a. By its acts omissions failures and conduct, Defendant has breached their
common law duty of good faith and fair dealing by failing to pay the proper amounts on
Plaintiff s entire claim without any reasonable basis and by failing to conduct a reasonable
investigation to determine whether there was a reasonable basis for this denial. Defendant
has also breached this duty by unreasonably delaying payment of Plaintiff s entire claim,
and by failing to settle Plaintiff’s entire claim because Defendant knew or should have
known that it was reasonably clear that the claim was covered. These acts omissions
failures and conduct of Defendant is a proximate cause of Plaintiff"s damages
7.7 COUNT 6 - MISREPRESENTATION

a. Defendant LIBERTY MUTUAL is liable to Plaintiff under the theories of

intentional misrepresentation or in the alternative, negligent misrepresentation Defendant

 

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LIBERTY MUTUAL did not inform Plaintiff of certain exclusions in the policy.

Misrepresentations were made by Defendant LIBERTY MUTUAL or its agents with the

intention that they should be relied upon and acted upon by Plaintiff, who relied on the

misrepresentations to his detriment. As a result, Plaintiff has suffered damages including

but not limited to loss of the Property, loss of use of the Property, mental anguish and

attomey’s fees Defendant LIBERTY MUTUAL is liable for these actual consequential

and penalty-based damages

VIII. WAIVER AND ESTOPPEL

8.1 Defendant is waived and is estopped from asserting any coverage defenses
conditions exclusions or exceptions to coverage not contained in any reservation of rights letter
to the Plaintiff.

IX. DAMAGES / CLAIMS FOR RELIEF

 

9.1 All the damages described and sought in this petition are within the jurisdictional
limits of the Court Plaintiff seeks only monetary relief of $lO0,000 or less including damages
of any kind, penalties costs expenses pre-judgment interest, and attorney fees

9.2 The above described acts omissions failures and conduct of Defendants caused
Plaintiff’s damages which include, without limitation, (1) the cost to properly repair Plaintiff"s
home, (2) any investigative and engineering fees incurred by Plaintiff, (3) court costs and (4)
attorney fees The Plaintiff is entitled to recover consequential damages from Defendants’ breach
of contract The Plaintiff is also entitled to recover the amount of Plaintiff’s claim plus an 18%
per annum penalty on that claim against Defendants as damages under Section 542 of the Texas

Insurance Code, plus prejudgment interest

 

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9.3 Defendant has also “knowingly” and “intentionally” committed deceptive trade
practices and unfair insurance practices as those terms are defined in the applicable statutes
Because of Defendant’s knowing and intentional misconduct Plaintiff is entitled to additional
damages as authorized by Section 17.50(b)(l) of the DTPA, which allow recovery of up to three
times economic damages Where there is an enabling statute for the DTPA, as there is here with
the Texas Insurance Code, Plaintiff is entitled to recovery of up to three times actual damages
Plaintiff is further entitled to the additional damages that are authorized by Section 541 of the
Texas Insurance Code.

9.4 Defendant’s breach of their duty of good faith and fair dealing owed to Plaintiff
was done intentionally, with a conscious indifference to the rights and welfare of Plaintiff, as
defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by
Defendant is the type of conduct which the State of Texas protects its citizens against by the
imposition of exemplary damages Therefore, Plaintiff seeks the recovery of exemplary damages
in the amount to be determined by the finder of fact that is sufficient to punish Defendant for its
wrongful conduct and to set an example to deter Defendant and others similarly situated from
committing similar acts in the future.

X. ATTORNEY’S FEES

 

10.1 As a result of Defendant’s conduct that is described in this petition, Plaintiff has
been forced to retain the undersigned law firm and attorney to prosecute this action, and has agreed
to pay reasonable attorney’s fees Plaintiff is entitled to recover these attomey’s fees under Chapter
38 of the Texas Civil Practice and Rcmedies Code, Section 541 and 542 of the Texas Insurance

Code, and Section 17.50 of the DTPA.

 

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XI. DISCOVERY

11.1 Under the Texas Rule of Civil Procedure 194, the Defendant are requested to
disclose within fifty (50) days of service of this request, the information of material described in
Texas Rule of Civil Procedure l94.2(a) through (l). Plaintiff’s Requests for Disclosure, Requests
for Production, Interrogatories and Requests for Admissions are attached, for service at the time
of service of this petition, and incorporated herein by reference.

XII. JURY DEMAND
12.1 Plaintiff demands a jury trial and tenders the appropriate fee with this petition
XIII. PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant LIBERTY
MUTUAL INSURANCE COMPANY and/or LIBERTY MUTUAL FIRE INSURANCE
COMPANY be cited to appear and answer herein, and that upon trial hereof`, said Plaintiff have
and recover such sums as would reasonably and justly compensate Plaintiff in accordance with the
rules of law and procedure, as to economic damages actual damages consequential damages
statutory penalty interest, treble damages under the Texas Deceptive Trade Practices Act and
Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,
Plaintiff requests the award of attomey’s fees for the trial and any appeal of this case, for all costs
of court, for prejudgment and post-judgment interest, at the highest rate allowed by law, and for
any other and further relief, at law or in equity, to which Plaintiff may show herself to be justly

entitled.

 

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Respectfully submitted,

THE CORONA LAW FIRM, PLLC

By: /s/ Jesse S. Corona

 

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